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1      EDMUND G. BROWN JR.                                 HANSON BRIDGETT LLP
       Attorney General of the State of California         JERROLD C. SCHAEFER - 39374
2      DAVID S. CHANEY                                     PAUL B. MELLO – 179755
       Chief Assistant Attorney General                    S. ANNE JOHNSON – 197415
3      ROCHELLE C. EAST                                    SAMANTHA D. TAMA – 240280
       Senior Assistant Attorney General                   RENJU P. JACOB - 242388
4      JONATHAN L. WOLFF                                   425 Market Street, 26th Floor
       Senior Assistant Attorney General                   San Francisco, CA 94105
5      LISA A. TILLMAN – State Bar No. 126424              Telephone: (415) 777-3200
       Deputy Attorney General                             Facsimile: (415) 541-9366
6      KYLE A. LEWIS – State Bar No. 201041                jschaefer@hansonbridgett.com
       Deputy Attorney General                             pmello@hansonbridgett.com
7      455 Golden Gate Avenue, Suite 11000                 ajohnson@hansonbridgett.com
       San Francisco, CA 94102-7004                        stama@hansonbridgett.com
8      Telephone: (415) 703-5708                           rjacob@hansonbridgett.com
       Facsimile: (415) 703-5843
9      lisa.tillman@doj.ca.gov
       kyle.lewis@doj.ca.gov
10
       Attorneys for Defendants
11

12                                 UNITED STATES DISTRICT COURT
13                         FOR THE EASTERN DISTRICT OF CALIFORNIA
14                        AND THE NORTHERN DISTRICT OF CALIFORNIA
15            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
16                 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
17     RALPH COLEMAN, et al.,                         No. 2:90-cv-00520 LKK JFM P
18                   Plaintiffs,                      THREE-JUDGE COURT
19           v.
20     ARNOLD SCHWARZENEGGER, et al.,
21                   Defendants.
22
       MARCIANO PLATA, et al.,                        No. C01-1351 TEH
23
                     Plaintiffs,                      THREE-JUDGE COURT
24            v.
                                                      DEFENDANTS’ NOTICE OF FILING
25     ARNOLD SCHWARZENEGGER, et al.,                 SEALED DOCUMENT

26                   Defendants                       To: Three-Judge Panel

27     //
28
                                                     -1-
       DEFS.’ MIL # 9 TO EXCLUDE EXPERT REPORTS DRAFTED BY ATTORNEYS
                                                                                          1646326.1
       (CASE NOS. 90-00520; 01-1351)
     Case 2:90-cv-00520-KJM-SCR         Document 3123       Filed 10/21/08     Page 2 of 2


1             TO PLAINTIFFS MARCIANO PLATA AND RALPH COLEMAN AND THEIR
2      ATTORNEYS OF RECORD:
3             PLEASE TAKE NOTICE that Defendants Arnold Schwarzenegger, et al., hereby
4      file under seal Exhibit J, an excerpt of the transcript of the deposition of Craig Haney.
5      This Exhibit J is proffered in support of Defendants’ Motion in Limine Number ….. The
6      transcript of this deposition was sealed in accord with the protective orders to maintain
7      patient confidentiality and to maintain the confidentiality of the reports of the Office of
8      Inspector General, entered on January 12, 2007 and May 27, 2008, respectively, in the
9      matter of Coleman v. Schwarzenegger, Case No. Civ S 90-0520 LKK-JFM P. Because
10     Exhibit J is excerpted from a deposition transcript that may be subject to these protective
11     orders, Defendants respectfully request the excerpt contained in this Exhibit J be filed
12     under seal.
13     DATED: October 21, 2008                        HANSON BRIDGETT LLP
14
                                                  By: /s/ Paul B. Mello
15                                                   PAUL MELLO
                                                     Attorneys for Defendants Arnold
16                                                   Schwarzenegger, et al.
17     DATED: October 21, 2008                        EDMUND G. BROWN JR.
                                                      Attorney General for the State of California
18

19                                                By: /s/ Lisa Tillman
                                                     LISA TILLMAN
20                                                   Deputy Attorney General
                                                     Attorneys for Defendants Arnold
21                                                   Schwarzenegger, et al.
22

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       DEFS. REQUEST TO FILE UNDER SEAL EXH. J TO MIL
                                                                                              1646326.1
       (CASE NOS. 90-00520; 01-1351)
